 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   KATHERINE L. WAWRZYNIAK (CABN 252751)
 3 Chief, Criminal Division
 4 CLAUDIA QUIROZ (CABN 254419)
   KATHERINE LLOYD-LOVETT (CABN 276256)
 5 Assistant United States Attorneys
 6 C. ALDEN PELKER (MD)
   Trial Attorney
 7 Computer Crime & Intellectual Property Section
   United States Department of Justice
 8
          450 Golden Gate Avenue, Box 36055
 9        San Francisco, California 94102-3495
          Telephone: (415) 436-7428
10        FAX: (415) 436-7234
          claudia.quiroz@usdoj.gov
11        catherine.pelker@usdoj.gov

12 Attorneys for United States of America
13
                                  UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN FRANCISCO DIVISION
16
17   UNITED STATES OF AMERICA,                      ) Case No. CR 16-00227 SI
                                                    )
18           Plaintiff,                             ) STIPULATION AND AMENDED PROTECTIVE
                                                    ) ORDER [PROPOSED]
19      v.                                          )
                                                    )
20   BTC-E, A/K/A CANTON BUSINESS                   )
     CORPORATION,                                   )
21                                                  )
     and                                            )
22                                                  )
     ALEXANDER VINNIK,                              )
23                                                  )
                                                    )
24           Defendants.                            )
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     STIPULATION AND AMENDED PROTECTIVE ORDER [PROPOSED]
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 1          With the agreement of the parties, the Court enters the following Amended Protective Order:

 2          1.      Defendant is charged with in a 21-count indictment with the following offenses:

 3 Operation of an Unlicensed Money Services Business, in violation of 18 U.S.C. § 1960 (Count One);
 4 Conspiracy to Commit Money Laundering, in violation of 18 U.S.C. § 1956(h) (Count Two); Money
 5 Laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and (a)(1)(B)(i) (Counts Three through
 6 Nineteen); and Engaging in Unlawful Monetary Transactions, in violation of 18 U.S.C. § 1957 (Counts
 7 Twenty through Twenty-One). Upon receipt of a discovery request, the United States will produce
 8 documents and other materials pertaining to the defendants and the charged offenses to defense counsel.
 9          2.      All materials provided by the United States in preparation for, or in connection with, any

10 stage of this case (collectively, “the materials”) may be used by the defendant and defense counsel
11 solely in connection with the defense of this case, and for no other purpose, and in connection with no

12 other proceeding, without further order of this Court.
13          3.      Neither the defendant nor any member of the Defense Team shall provide any discovery

14 material produced by the government—whether or not the material constitutes or contains Sensitive
15 Information within the meaning of this Order—to any third party1 (i.e., any person who is not a member
16 of the Defense Team) or make any public disclosure of the same, other than in a court filing, without the
17 government’s express written permission or further order of this Court, except that the Defense Team
18 may show discovery materials produced by the government to third parties, including witnesses and
19 consultants, in the course of preparing the defense of this case at trial or any appeal of the case, but only

20 if (i) the third party, by reason of their participation in the underlying events or conduct, would have
21 seen or had reason to know such information, or (ii) it is otherwise relevant to the defense of the case
22 that the Defense Team discuss with or show the third party the materials. Any third party to whom the
23 defense discloses discovery materials shall be also provided with a copy of this Order along with those
24 materials. In addition, consistent with the Court’s order, the defendant and the Defense Team may share
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            1
26          This prohibition shall not extend to law enforcement personnel in Santa Rita Jail who will need
   to review digital discovery prior to providing it to the defendant. The Defense Team may send non-
27 Sensitive Information to Santa Rita Jail and authorize disclosure to the Sheriff’s Office for that purpose.
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 1 undesignated material with the United States Department of State. This paragraph applies to the
 2 disclosure of discovery materials themselves, as well as detailed, substantially verbatim recitations of
 3 their contents; however, this paragraph does not prevent the defendant or the Defense Team from
 4 discussing or disclosing particular nonsensitive facts of the case, notwithstanding that the defendant or
 5 the Defense Team’s knowledge of these facts may have originated from their review of the discovery
 6 materials.
 7          4.      The United States will identify certain discovery materials as Sensitive Information by

 8 marking such materials “CONFIDENTIAL– SUBJECT TO PROTECTIVE ORDER” or by providing
 9 written notice identifying discovery materials as Sensitive Information. Sensitive Information is defined
10 as:
11                  a. Personal Identifying Information of any individual (other than his or her name),

12                     including any person’s date of birth, social security number, residence address,

13                     telephone numbers, email addresses, driver’s license number, names of persons who

14                     are minors, or criminal histories (“Personal Identifying Information”);

15                  b. Financial Identifying Information of any individual or business, including bank

16                     account numbers, credit or debit card numbers, account passwords, and taxpayer

17                     identification numbers (“Financial Identifying Information”);

18                  c. Information that could reveal sensitive sources, techniques, information, or methods,

19                     including information pertaining to technical or confidential human sources; and

20                  d. Information regarding the existence and/or identities of other targets of the

21                     investigation.

22          5.      The government shall exercise reasonable care in determining which discovery materials

23 should be designated as Sensitive Information in order to avoid the over-designation of discovery
24 materials as Sensitive Information.
25          6.      Defense counsel and their investigators, assistants, employees, and independent

26 contractors (collectively, “the Defense Team”) may review with the defendant all discovery material
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 1 produced by the government, but shall not provide a defendant with copies of, or permit defendant to
 2 make copies of, or have unsupervised access to any discovery material produced by the government that
 3 contains Sensitive Information, unless the Sensitive Information has first been entirely redacted from
 4 the discovery materials. The government and defense counsel are ordered to work together to ensure
 5 that these materials are protected, but that defendant has as much access to the materials as can be
 6 provided consistent with this Court’s order. Discovery material that clearly pertains to a specific
 7 defendant and does not contain Sensitive Information regarding any other person (e.g., defendant’s own
 8 bank records, telephone records, and business records) may be provided to that defendant unredacted.
 9          7.      The Defense Team may show witnesses Sensitive Information in the course of preparing

10 a defense for trial or any related proceedings in this case, but only if (i) the witness, by reason of their
11 participation in the underlying events or conduct, would have seen or had reason to know such

12 information, or (ii) it is otherwise relevant to the defense of the case that the Defense Team discuss with
13 or show the witness Sensitive Information. Witnesses may only view Sensitive Information in the
14 presence of the Defense Team. No witness or potential witness may retain copies of discovery material
15 that contains Sensitive Information after his or her review of those materials with the Defense Team is
16 complete.
17          8.      Defense counsel may also provide unredacted copies of Sensitive Information to any

18 experts retained to assist with the preparation of the defense in the captioned case. The defendant, all
19 members of the Defense Team, and any experts who receive Sensitive Information under this Order

20 shall be provided a copy of this Order along with those materials and shall initial and date the order
21 reflecting their agreement to be bound by it.
22          9.      The Defense Team shall maintain Sensitive Information safely and securely and shall

23 exercise reasonable care in ensuring the confidentiality of those materials by not divulging the contents
24 or permitting anyone to see Sensitive Information except as set forth in this Protective Order.
25          10.     This Order shall also apply to any copies made of any Sensitive Information covered by

26 this Order.
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 1          11.     If a party files a pleading that contains or attaches Sensitive Information subject to this

 2 Order, the Sensitive Information must be filed under seal (accompanied by a request to file under seal)
 3 and redacted from the public filing, unless otherwise ordered by the Court. The Clerk shall accept for
 4 filing under seal any filings so marked by the parties pursuant to this Order.
 5          12.     After any judgment or disposition has become final and there are no pending

 6 proceedings, challenges, appeals, or habeas motions in the case, counsel for defendant shall either
 7 destroy discovery materials containing Sensitive Information (including any copies) within 30 days if
 8 the defendant consents to such destruction, or retain the Sensitive Information and ensure that the
 9 Sensitive Information will continue being kept under the conditions specified in this Order. After the
10 statutory period for filing a motion under 28 U.S.C. § 2255 has expired, the United States is free to
11 destroy documents and materials subject to this Order. If defendant is represented by counsel and files a

12 motion pursuant to 28 U.S.C. § 2255, the United States will provide counsel with the documents and
13 materials subject to this Protective Order under the terms of this Order.
14                                              Scope of this Order

15          13.     Modification Permitted. This stipulation is without prejudice to either party applying to

16 the Court to modify the terms of any protective order. This Court shall retain jurisdiction to modify this
17 Order upon motion of either party even after the conclusion of district court proceedings in this case.
18          14.     No Waiver. The failure by the United States to designate any materials as “Sensitive

19 Information” upon disclosure shall not constitute a waiver of the United States’ ability to later designate

20 the materials as Sensitive Information.
21          15.     Disputes. The parties shall meet and confer prior to presenting any disputes arising

22 under this Order, such as whether materials should be designated Sensitive Information, to the Court for
23 adjudication.
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 1          16.     No Ruling on Discoverability or Admissibility. This Order does not constitute a ruling

 2 on the question of whether any particular material is properly discoverable or admissible and does not

 3 constitute any ruling on any potential objection to the discoverability of any material.

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 5    IT IS SO STIPULATED.                                   ISMAIL J. RAMSEY
                                                             United States Attorney
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 7
      Dated: July 6, 2023                                    __/s/___________________________________
 8                                                           CLAUDIA QUIROZ
 9                                                           KATHERINE LLOYD-LOVETT
                                                             Assistant United States Attorney
10                                                           C. ALDEN PELKER
                                                             Trial Attorney, CCIPS
11

12           September 26, 2023
             ----------------
      Dated: July __, 2023                                   __/s/___________________________________
13                                                           ALEKSANDR GRUZMAN
14                                                           Counsel for Defendant ALEXANDER VINNIK

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16    IT IS SO ORDERED.
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18    Dated: September 28, 2023                              SUSAN ILLSTON
                                                             United States District Judge
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